Case 5:23-cv-00544-R Document1-8 Filed 06/20/23 Page1of7

Exhibi 4-H

CLAIM FOR DAMAGE, INSTRUCTIONS: Please read carefully the instructions on the FORM. APPROVED
reverse side and Supply information requested on both sides of this
INJURY, OR DEATH form. Use additional sheet(s) if necessary. See reverse side for 1108-0008
additional instructions, ,

7 a
Submit To Appropriate Federal Agency: ® P P Sant Center| Regiona\ 2, Name, Address of claimant and claimant's personal representative, if
ote Ge UiS,-Ar med Forces Reserve Com loys 344 thartne any. (See ar on reverse.) (Number, Street, City, State and Zip

Forces DR. GCANd Prairie, bX W051) UTM, CS Sth Flogr] Code) On 15+ h

Washing ton, D.C LOS3E(4IN)3 Cimarron Correctional D6, Wti¢

Fick 4, CEA, 31.00 S,  Fings Hwy Cushing , 0. ke Box 24556 Tucs6n, A.2.
74395 oy {5734 .

3. TYPE OF EMPLOYMENT 4, Oe OF BIRTH | 5. MARITAL STATUS | 6. DATE AND DAY OF ACCIDENT 7. TIME (A.M. OR P.M.)
O MILITARY CIVILIAN §-713- 19¢6 Si acle Dec, V5 } 207 HA

UV
8. Basis of Clalm (State In detail the known facts and.circumstances attending the damage, nur or death, Identifying persons and property involved, the
Place of occurrence and the cause thereof. Use additional pages if necessary.)

Please See Addikional Pages

9. PROPERTY DAMAGE

NAME AND ADDRESS OF OWNER, IF OTHER THAN CLAIMANT (Number, Street, City, Stata, and Zip Code).

WIA

BRIEFLY DESCRIBE THE PROPERTY, NATURE AND EXTENT OF DAMAGE AND THE LOCATION WHERE PROPERTY | MAY BE INSPECTED.
(See Instructions on reverse side-) . .

: Vis

10, PERSONAL INJURY/WRONGFUL DEATH

INJURED PERSON OR DECEDENT.

STATE NATURE AND EXTENT OF EACH INJURY OR GAUSE OF DEATH, WHICH FORMS THE BASIS OF THE CLAIM. IF OTHER THAN CLAIMANT, STATE NAME OF

"Please See add ittors | Pages.

1. WITNESSES .
‘ NAME , ADDRESS (Number, Street, City, State, and Zip Cade)
D/o Gvecton - Cimmayron Correctional Ric )ccA
' WwW
D/O Janreg| F200 S: Kings Hwy Cashong 0.4, Aya
12. ‘(See instructions on reverse.) AMOUNT OF CLAIM (in dollars)
12a. PROPERTY DAMAGE 12b, PERSONAL INJURY 42c. WRONGFUL DEATH ~ 12d. TOTAL (Failure to specify may cause

forfelture of your rights.)

N/A. BL 1.0.06 , 066 netic V/A 43006, 004

| CERTIFY THAT THE AMOUNT OF CLAIM COVERS ONLY DAMAGES AND INJURIES CAUSED BY THE INCIDENT ABOVE AND AGREE TO ACCEPT SAID AMOUNT IN

FULL SATISFACTION AND FINAL SETTLEMENT OF THIS CLAIM

13a. SIGNATURE OF CLAIMANT (See instructions on reverse side.) 136. Phone number of person signing form 14. DATE OF SIGNATURE
. - -
CIVIL PENALTY FOR PRESENTING ‘ CRIMINAL PENALTY FOR PRESENTING FRAUDULENT

FRAUDULENT CLAIM CLAIM OR MAKING FALSE STATEMENTS
The claimant Ia fable to the United States Govornmont for the clvil panalty of not lose than Fino, trhpriconmant, or both. (Sco 18 U.S.C. 287, 1001.)
$5,000 and not more than $10,000, plus 3 times the amount of damages sustained
by the Government. (See 31 U.S.C. 3729.)

NSN 7540-00-634-4046 STANDARD FORM 95

95-109
PRESCRIBEO BY DEPT. OF JUSTICE

28, CFR 14.2
Case 5:23-cv-00544-R Document 1-8

912 Prisoners’ SELF-HELP LITIGATION MANUAL

Ex nibit — H-\ ,

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_ NIA

INSURANCE COVERAGE
dn orderthat subrogalion claims may be adjudicated, It Is fat that the claiment provide tha following Information regarding the insurance coverage of his vehicle or property.
15. Do you cary accident insurance? Yes If yes, give name and address of insurance compeny (Number, Street, City, Stale, and Zip Code) and paltcy number. Ne
16. Have you filed a claim on your Insurance carrier In this instance, and itso, is it full coverage or deductibie? Dyes Ihc 47. if deductible, state amount.

WIR

V/R

48. If a claim has been Mled with your carrier, what action has your Insurer taken or proposed lo take.with reference to your clalm? (its necessary thal you ascertain these facts.)

19. Do you carry public liability and property damage insurance? © Yes  Ityes, give name and address of Insurance cartier (Number, Street, City, State, and Zip Code). ono

WV 7A

form.

A.CLAIM SHALL BE DEEMED TO HAVE BEEN PRESENTED WHEN A FEDERAL
AGENCY RECEIVES FROMA CLAIMANT, HIS DULY AUTHORIZED AGENT, OR LEGAL
REPRESENTATIVE, AN EXECUTED STANDARD FORM 95 OR OTHER WRITTEN
NOTIFICATION OF AN INCIDENT, ACCOMPANIED BY A CLAIM FOR MONEY

Fallure to completely execute this form or to supply the requested matorial within
two years from the date the claim actrued may render your clam Invalid. A claim Is
deemed presented when It Is received by the appropriate agency, not when It Is
malled.

\ .
if Instruction Is naeded In completing this form, the agency listed In tam #1 on the reverse
side may be contected. Complete regulations pertaining to claims asserted under the
Federal Tort Claims Act can be found In Title 28, Code of Federal Regulations, Part 14.
Many agencies have published supplementing regulations. If more than one agency Is
involved, please state each agency.

The claim may be filed by a duly authorized agent or other legal representative, provided
evidence satisfactory to the Government is submitied with the claim astablishing express
authority to act for the claimant. A claim presented by an agent or legal represenlative
must be presented In the name of the clalmant. If the clalm Is signed by the agent or legal
representative, It must show the lille or legal capacity of the person signing and be
accompanied by evidence of his/her, authority to present a claim on behalf of the claimant
as agent, executor, admink: , parent, guardian or other repr tat

If claimant intends to file for both personal injury and property damage, the amount for each
must be shown In item #12 of this form.

t INSTRUCTIONS

Claims presented under the Federal Tort Claims Act should be submitted directly to the “appropriate Federal agency” whose
employee(s) was Involved In the Incident. If the incident Involves more than one claimant, each claimant should submit a separate claim

Complete all items - Insert the word NONE where applicable.

DAMAGES IN A SUM CERTAIN FOR INJURY TO OR LOSS OF PROPERTY, PERSONAL
INJURY, OR DEATH ALLEGED TO HAVE OCCURRED BY REASON OF THE INC|DENT.
THE CLAIM MUST BE PRESENTED TO THE APPROPRIATE FEDERAL AGENCY WITHIN
TWO YEARS AFTER THE CLAIM ACCRUES. ,

The amount clalmed should be substantiated by competent evidence as follows:

(a) \n support of the claim for personal injury or death, the clalmant should submit a written
report by the atlending physician, showing the nature and extent of Injury, the nalure and
extent of treatment, the degree of permanent disability, if any, the prognosis, and the period
of hospitalization, or incapacitation, attaching itemized bills for medicel, hospital, or burial
expenses actually Incurred. ’ .

(4) In support of claims for damage to property, which has been or can be economically
repaired, the claimant should submit at least two llemized signed statements or estimates by
reliable, disinterested concems, or, If paymenthas been made, the itemized signed receipts
evidencing payment, .

+

(c) In support of claims for damage to property which Is nal economically repairable, or if
the property Is lost or destroyed, the claimant should submit statements as to the original cost
of the property, the date of purchase, and the value of the property, both before and after the
accident. Such statements should be by disinterested competent persons, preferably
reputable dealers or officials familiar with the type of property damaged, or by two or more
competitive bidders, and should be certified as being Just and correct.

{d) Failure to specify a sum certain will render your ctafm Invalid and may result in
forfeiture of your rights.

PRIVACY

This Nolice is provided in accordance with the Privacy Act, 5 U.S.C. §52a(e)(3), and
concerns the information raquested in the letter to which this Notice Is attached.
A. Authority: The requested information is solicited pursuant to one or more of
the following: 5 U.S.C. 301, 28 U.S.C. 501 et seq., 26 U.S.C. 2671 et seq.,
28 C.F.R. Part 14. : :

ACT NOTICE

B. Principal Purpose: The information requested Is to be used in evaluating claims.

C. Routine Use: See the Notices of Systems of Records for the agency to whom you
are submitting this farm for this Information.

D. Effect of Failure to Respond: Disclosure fs voluntary. However, failure to supply
the requested information or to execute the form may render your claim “Invalid”,

addresses.

PAPERWORK REDUCTION ACT NOTICE

This notice Is solely for the purpose of the Paperwork Reduction Act, 44 U.S.C. 3501. Public reporting burden for this Collection of information Is estimated to average 6 hours perresponse,

including the time [or reviewing instructions, searching existing data sources, gathering and maintaining the data
comments regarding this burden estimate or any other aspect of this collection of information, including suggestions for reducing this burden, to the Director, Torts Branch, Altention:

Paperwork Reductian Staff, Civil Division, U.S. Department of Justice, Washington, D.C. 20530 er to the Office of Management and Budget Do not mall completed form(s) to these

dad

, and completing andr ing the collection of Information. Send

Raa w Ea inne MNT *

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Exhibit - A-2

Basis of Claim?

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Case 5:23-cv-00544-R Document1-8 Filed 06/20/23 Page 5 of 7
Exhibit — A> 4

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B de, Crain (Cimarron Correct tonal Pacilidy ) CC. A,

8 N waco. Casody LG MaMPon Correctional Facility) CCA.

Q Nurse. bost er ( Cimacron Co rPeotional Faciliby) CCA.

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Case 5:23-cv-00544-R Document1-8 Filed 06/20/23 Page 6of7
Exhibit ~ H-S

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Exhibit} —W-§

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